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                       Exhibit 25
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                                                                         Page 1
   IN THE UNITED STATES DISTRICT COURT

 FOR THE EASTERN DISTRICT OF LOUISIANA

                 -    -    -


 IN RE: XARELTO         :       MDL NO. 2592
 (RIVAROXABAN) PRODUCTS :
 LITIGATION             :       SECTION L
                        :
 THIS DOCUMENT RELATES :        JUDGE ELDON
 TO ALL CASES           :       E. FALLON
                        :
                        :
                        :       MAG. JUDGE
                        :       NORTH


                  -    -    -

            December 15, 2016

                  -    -    -

               - PROTECTED -

- SUBJECT TO FURTHER PROTECTIVE REVIEW -


             Videotaped deposition of
DAVID A. KESSLER, M.D., taken pursuant to
notice, was held at the law offices of
Douglas & London, 59 Maiden Lane, New
York, New York, beginning at 8:39 a.m.,
on the above date, before Michelle L.
Gray, a Registered Professional Reporter,
Certified Shorthand Reporter, Certified
Realtime Reporter and Notary Public.

                 -    -    -

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            VIDEOTAPE TECHNICIAN:
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                                                                          Page 310
 1
                 A.       Yes.
 2
                 Q.       If you look at Page 9.
 3
                 A.       Right.
 4
                 Q.       And her testimony.
 5
                 A.       Right.
 6
                 Q.       Bottom paragraph.
 7
                 A.       Right.
 8
                 Q.       Does she state, "Importantly
 9
      the DOAC drugs were approved without a
10
      requirement for monitoring" --
11
                 A.       Yes.
12
                 Q.       -- "so currently
13
      manufacturers are developing devices to
14
      assess the effect or concentration of
15
      direct oral anticoagulants.                 There are
16
      currently no clear or approved devices
17
      that measure that."
18
                          Do you agree with her
19
      statement?
20
                 A.       I mean, I think that's
21
      technically true.            It's what you expect a
22
      device person to look at.                I mean, there
23
      is the device -- Neoplastine is available
24
      to measure PT.          It is approved to assess

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                                                                          Page 311
 1
      bleeding risk and can monitor bleeding
 2
      risk.      She doesn't discuss that.
 3
                 Q.       Do you agree that no -- I'm
 4
      finished with that document.
 5
                          Do you agree that no
 6
      regulatory agency or professional medical
 7
      or scientific society recommends or
 8
      requires routine coagulation monitoring?
 9
                          MS. JEFFCOTT:          Object to
10
                 form.
11
                          THE WITNESS:         Again, I don't
12
                 think anyone is talking -- well,
13
                 no one -- I don't think anyone is
14
                 talking about routine coagulation
15
                 monitoring, as that term is used
16
                 in the warfarin context.
17
                          And I don't -- I mean, I
18
                 have not seen anybody do that.
19
                 That's not the issue I think in
20
                 this matter.
21
      BY MR. ZELLERS
22
                 Q.       Do you agree that FDA does
23
      not currently recommend or require
24
      prothrombin time testing for Xarelto?

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                                                                            Page 316
 1
                 A.       I cite it in my report.
 2
                 Q.       Okay.     So you agree that the
 3
      medical review states, "Monitoring
 4
      rivaroxaban therapy with sequential
 5
      prothrombin times to optimize safety
 6
      outcomes cannot be recommended due to the
 7
      lack of information regarding, one,
 8
      within patient variability of prothrombin
 9
      time measurements on this drug in the
10
      setting of a short half-life and rapidly
11
      changing pharmacodynamic effects over
12
      each 24-hour period; and two, what action
13
      to recommend to the medical provider
14
      based on prothrombin time results given
15
      that only a single dose was tested in
16
      ROCKET."
17
                          Did I read it correctly?
18
                 A.       Yeah, you cite this.             So
19
      this is -- if I'm correct, this -- this
20
      actually was written on August 10.                     We
21
      can go back in 2011.             When you look at
22
      the data.        It's cited in Paragraph 45.
23
      And -- and I cite that.               And I agree
24
      that, you know, while measuring a PT

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                                                                           Page 317
 1
      level in a Xarelto-treated patient can be
 2
      helpful in identifying patients at risk
 3
      for serious bleeding, based on a
 4
      patient's response to Xarelto, it does
 5
      not allow a physician to titrate the dose
 6
      in sequential the way that warfarin is
 7
      used in sequential doses.
 8
                          But it does allow a
 9
      physician and a patient to decide whether
10
      the patient should continue on Xarelto, I
11
      would argue.
12
                          Now, what's interesting is
13
      if you look at the date of this -- and
14
      I -- I want to go back and confirm
15
      this -- it's the same date as the
16
      clinical pharm that is written.
17
                          This is being put
18
      together -- so my understanding is both
19
      are coming out with results on this.                       And
20
      I would agree.          We talked earlier.             I
21
      don't think you can use it to titrate or
22
      do sequential PT.            But you can do to see
23
      what the -- not sequential.                 But you can
24
      certainly determine whether you're in the

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                                                                           Page 318
 1
      fourth quartile.
 2
                          And, again, the -- just for
 3
      the record, I think it's important to put
 4
      on page -- Paragraph 48, that on
 5
      November 4, 2011, that the -- that -- it
 6
      says the clinical -- the deputy director
 7
      wrote, "The clinical pharmacology and
 8
      clinical reviewers demonstrate that there
 9
      is a linear correlation between riva
10
      levels and prothrombin time.                  They also
11
      demonstrated that there is also a
12
      correlation between PT and risk of
13
      bleeding.".
14
                          This applicant has not
15
      chosen to utilize this information.
16
      Infrequent monitoring" -- they use the
17
      word "monitoring" -- "perhaps at
18
      initiation and yearly thereafter to
19
      assure appropriate dosing in drugs that
20
      prevent stroke and cause bleeding may
21
      improve outcomes and be acceptable to
22
      patients."
23
                 Q.       Doctor, doctor, I have your
24
      report.       I've read your report.

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                                                                           Page 437
 1
 2
                             CERTIFICATE
 3
 4
 5
                   I HEREBY CERTIFY that the
      witness was duly sworn by me and that the
 6
      deposition is a true record of the
      testimony given by the witness.
 7

                   It was requested before
 8
      completion of the deposition that the
      witness, DAVID A. KESSLER, M.D., have the
 9
      opportunity to read and sign the
      deposition transcript.
10
11

                 __________________________________
12
                 MICHELLE L. GRAY,
                 A Registered Professional
13
                 Reporter, Certified Shorthand
                 Reporter, Certified Realtime
14
                 Reporter and Notary Public
                 Dated: December 19, 2016
15
16
17
                   (The foregoing certification
18
      of this transcript does not apply to any
19
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